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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF KENTUCKY
OWENSBORO DIVISION

In re: )
)
BURLINGTON CIVIL, INC. ) Case No. 19-40608-thf
) Chapter 7
Debtor. )
) Judge

NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

Paul T. Berkowitz of PAUL T. BERKOWITZ & ASSOCIATES, LTD., hereby files his
appearance as attorney for the following creditors:

-INDIANA/KENTUCK Y/OHIO REGIONAL COUNCIL OF CARPENTERS PENSION FUND;

-INDIANA/KENTUCK Y/OHIO REGIONAL COUNCIL OF CARPENTERS DEFINED
CONTRIBUTION PENSION TRUST FUND;

-INDIANA/KENTUCK Y/OHIO REGIONAL COUNCIL OF CARPENTERS WELFARE FUND;

-INDIANA/KENTUCK Y/OHIO REGIONAL COUNCIL OF CARPENTERS JOINT
APPRENTICESHIP AND TRAINING FUND; and,

-INDIANA/KENTUCK Y/OHIO REGIONAL COUNCIL OF CARPENTERS.

I request notices of all proceedings and copies of all papers filed in this case.

July 30, 2019 PAUL T. BERKOWITZ & ASSOCIATES, LTD.

By: /s/ Paul T. Berkowitz

 

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CERTIFICATE OF SERVICE

This will certify that on this 30"" day of July, 2019, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system which sent notification of such
filing to the following entities and individuals:

Charles R. Merrill —_ ustpregion08.lo.ecf@usdoj.gov

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and by regular U.S. mail, postage prepaid, on:
Burlington Civil, Inc.

P.O. Box 845
Owensboro, KY 42301

/s/Paul T. Berkowitz

 

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